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Dear Judge Walton,

        My name is Bassam Shareef Bazoun, I am the current principal of the Hanaway Public School.
Our school is a governmental institute located in the village of Hanaway in the South of Lebanon. Kassim
Tajideen and I both come from this village and have known each other for decades.

Kassim Tajideen has been a tremendous help for our school. In 2009, he paid the registration fee for
each and every student in our institution. He did this for 6 years running. Our school averages around
300 students with each student paying a registration fee of LL240,000 ($160). He has also provided our
school with gym equipment, laboratory equipment, a huge electric generator and several
refurbishments, including their maintenance.

I have also known Kassim Tajideen to be charitable to society beyond our school. For example, he has
provided a home for the woman who nursed his mother in the years before she passed away. From a
young age, he has always wanted to help everyone, regardless of their age or position in life. He has
always been a person that has been very humble with an ambition to be dependent and successful. He
remained the same person despite the wealth he has amassed over the years.



Yours Truly,

Bassam Bazoun

[Signature and seal of the Hanaway Public School]
